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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


EPHRAIM WOODS, JR.,

      Plaintiff,

v.                                            Case No. 21-2011-DDC-TJJ

CHERYL ROSS,

      Defendant.
____________________________________
FATIMAH MUHAMMAD,

      Plaintiff,

v.                                            Case No. 21-2012-DDC-TJJ

CHERYL ROSS,

      Defendant.
____________________________________
DWIGHT JOHNSON,
      Plaintiff,
v.                                            Case No. 21-2013-DDC-TJJ
CHERYL ROSS,
      Defendant.
____________________________________
RAASIKH ROBERTSON,

      Plaintiff,

v.                                            Case No. 21-2014-DDC-TJJ

CHERYL ROSS,

      Defendant.
____________________________________
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                                  MEMORANDUM AND ORDER1

        In a Memorandum and Order dated February 14, 2022, the court denied plaintiffs’

motions for default judgment in each one of their cases. See Woods v. Ross, No. 21-2011 (D.

Kan.) (Doc. 58); Muhammad v. Ross, No. 21-2012 (D. Kan.) (Doc. 56); Johnson v. Ross, No. 21-

2013 (D. Kan.) (Doc. 55); Robertson v. Ross, No. 21-2014 (D. Kan.) (Doc. 53). Now, plaintiffs

each have filed an “Objection” to that Order. See, e.g., Woods v. Ross, No. 21-2011 (D. Kan.)

(Doc. 60) (“Objection to the Federal Judge Daniel Crabtree’[s] Dismissal Under Rules 60

Section 3 & 4, Canon Rules of Judicial Conduct 1, 2, 3, Willful Violation of Federal Ethics,

Federal Oath Under Federal Statutes 28, and Article 6 Clause 2 & 3, as well as Article 3 Section

1 & Section 3 Treason, 5 USC 7311, 18 USC 1918 and 18 USC 1621”).2 Given some of the

language used in these “Objection[s],” the court construed them as motions for reconsideration

and directed the Clerk’s office to docket the objections in that fashion. The court denies these

motions, for reasons explained below.

        Motions for reconsideration are appropriate only where there is: “(1) an intervening

change in the controlling law, (2) new evidence previously unavailable, [or] (3) the need to

correct clear error or prevent manifest injustice.” Servants of the Paraclete v. Does, 204 F.3d

1005, 1012 (10th Cir. 2000). “Thus, a motion for reconsideration is appropriate where the court

has misapprehended the facts, a party’s position, or the controlling law.” Id. Such a motion isn’t



1
        Each plaintiff has filed his or her own individual case in our court. But these cases are not
consolidated. The court includes the captions for all four cases in a single Order here as it has throughout
the cases’ history—because plaintiffs’ filings don’t differ in substance, and, typically, are identical. The
court simply has ruled plaintiffs’ identical motions in a single Order for efficiency. But that doesn’t mean
the cases are consolidated.
2
       For simplicity, the court only cites plaintiff’s “Objection” in the first-filed case in our court,
Woods v. Ross, No. 21-2011 (D. Kan.), because it is identical to the objections filed in the other three
cases.

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an appropriate vehicle “to revisit issues already addressed or advance arguments that could have

been raised in prior briefing.” Id.

       Having carefully reviewed plaintiffs’ filings, the court concludes that plaintiffs haven’t

shouldered their burden to justify reconsideration of the court’s February 14 Order. In other

words, plaintiffs haven’t demonstrated that the court’s February 14 Order “misapprehended the

facts, a party’s position, or the controlling law.” Id. Instead, plaintiffs merely have reiterated

arguments the court previously has rejected. And reconsideration motions are inappropriate

vehicles “to revisit issues already addressed[.]” Id.

       IT IS THEREFORE ORDERED BY THE COURT THAT plaintiffs’ Motions for

Reconsideration are denied in each of the following cases:

              Woods v. Ross, No. 21-2011 (Doc. 60)

              Muhammad v. Ross, No. 21-2012 (Doc. 58)

              Johnson v. Ross, No. 21-2013 (Doc. 57)

              Robertson v. Ross, No. 21-2014 (Doc. 55)

       IT IS SO ORDERED.

       Dated this 11th day of March, 2022, at Kansas City, Kansas.

                                                        s/ Daniel D. Crabtree
                                                        Daniel D. Crabtree
                                                        United States District Judge




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